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                                       IN THE UNITED STATES DISTRICT COURT
                                                    FOR THE DISTRICT OF MINNESOTA

                                                    ARRAIGNMENT MINUTES
UNITED STATES OF AMERICA,                                                  COURT MINUTES - CRIMINAL
                                                                                BEFORE: BECKY R. THORSON
                                       Plaintiff,                                   U.S. Magistrate Judge
   v.
                                                                     Case No:           20-cr-232 JRT/KMM
Bryant Jarode Critten (13),                                          Date:              November 5, 2020
                                                                                        Video Conference
                                       Defendant.                    Time Commenced:    11:11 a.m.
                                                                     Time Concluded:    11:13 a.m.
                                                                     Time in Court:     2 minutes




APPEARANCES:
   Plaintiff: Harry Jacobs, Assistant U.S. Attorney
   Defendant: Jill Brisbois,
                       X Retained

Indictment Dated: 10/20/2020

          X Reading of Indictment Waived                X Not Guilty Plea Entered


Other Remarks:
X Defendant consents to this hearing via video conference.
X Counsel to be notified of additional dates by separate Order to be issued.

                                                                                                                 s/ACH
                                                                                          Signature of Courtroom Deputy




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